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     Attorneys for Plaintiff Mark
 6   Streeter
 7
                                UNITED STATES DISTRICT COURT
 8
                                      DISTRICT OF NEVADA
 9
     Mark Streeter, derivatively on behalf      )         Case No: 2:18-cv-01916-RFB-VCF
10
     Of the shareholders of Glow Threads, Inc., )
11                                              )
                    Plaintiff,                  )         STIPULATION AND ORDER
12   v.                                         )         TO EXTEND TIME TO FILE
                                                )         OPPOSITIONS TO MOTIONS TO
13   Arman Izadi a/k/a Alexander Izadi a/k/a    )         DISMISS
     Armani; Sancho Van Ryan a/k/a Sancho       )         [First Request]
14
     Jinadasa; Brian Epling, as the trustee of  )
15   The Orange Trust; The Orange Trust;        )
     Bonnie Izadi a/k/a Bonnie Roberts;         )
16   Adli Law Group, P.C.; Anthony DiMonte; )
     and Glow Threads, Inc., As a nominal       )
17   Defendant for derivative claims,           )
18                                              )
                    Defendants.                 )
19   ____________________________________)

20
            Plaintiff Mark Streeter and Defendants Arman Izadi, Sancho Van Ryan, Brian Epling (as
21
     trustee for the Orange Trust), Bonnie Izadi, Glow Threads, Inc., Adli Law Group, P.C. and
22
     Anthony DiMonte, by and through their counsel, hereby respectfully submit this Stipulation and
23
     Order Extending Time for Plaintiff to Respond to the Motion To Dismiss filed by Defendants
24
     Adli Law Group and Anthony DiMonte (ECF No. 43) and the Motion To Dismiss filed by
25
     Arman Izadi, Sancho Van Ryan, Brian Epling, Bonnie Izadi and Glow Threads, Inc. (ECF No.
26
     47).
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                                                 1 of 3
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 1          1.      On Thursday, April 30, 2020, Anthony DiMonte and Adli Law Group filed a

 2   Motion to Dismiss the Second Amended Verified Stockholder Derivative Complaint. Under the

 3   Rules, an Opposition is presently due on Thursday, May 14, 2020. (ECF No. 43).

 4          2.      On Friday, May 1, 2020, Defendants Arman Izadi, Sancho Van Ryan, Brian

 5   Epling, Bonnie Izadi and Glow Threads, Inc. filed a Motion to Dismiss the Second Amended

 6   Verified Stockholder Derivative Complaint. (ECF No.47). An Opposition is presently due on

 7   Friday, May 15, 2020.

 8          3.      This Stipulation is made in accordance with LR 6-1, LR 6-2, and LR II 7-1 of the

 9   Local Rules of this Court. This is the first request for an extension of time to file a response to

10   the motions to dismiss. The reason for this request is that the COVID 19 emergency and related

11   limitations have significantly hampered Plaintiff’s ability to complete his responses to the

12   Motions to Dismiss.

13          4.      Accordingly, the Parties stipulate and agree that Plaintiff’s time to respond to the

14   Motions to Dismiss (ECF Nos. 43 and 47) is extended to Friday, May 22, 2020.

15   CLARK HILL, PLLC

16                                                          By: /s/ Nicholas M. Wieczorek, Esq.
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     aka Alexander Izadi
25   aka Armani; Sancho Van Ryan
     aka Sancho Jinadasa; Bonnie Izadi
26   aka Bonnie Roberts; Brian Epling and
     Glow Threads, Inc.
27
                                                            KENNEDY & COUVILLIER, PLLC
28
     CLARK HILL, PLLC
                                                   2 of 3
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 1

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 7   Streeter
 8
                                       ORDER
 9
                                            ________________________________
            IT IS SO ORDERED.
10                                          RICHARD F. BOULWARE, II
                                            UNITED STATES DISTRICT JUDGE
11                                      _________________________________________
                                            DATED
                                        UNITED     this 14th
                                                STATES   DISTRICT   JUDGE
                                                             day of May, 2020.
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